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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION


 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §   CRIMINAL NO. 4:19-CR-221-SDJ
                                                §
 MYKAL ANTHONY PYLES                            §
                                                §

                       MEMORANDUM OPINION & ORDER

       Before the Court is Defendant Mykal Anthony Pyles’s Motion to Suppress

 Evidence from Search on February 5, 2020. (Dkt. #62). The United States filed a

 response, (Dkt. #65), to which Pyles filed a reply, (Dkt. #71). Having considered the

 motion, the subsequent briefing, and the relevant law, the Court DENIES the

 motion.

                                    I. BACKGROUND

       Working with a confidential informant, law enforcement officers in Paris,

 Texas developed reason to believe that methamphetamine was being trafficked in an

 apartment located on N.E. 17th in Paris, Texas. On February 4, 2020, officers

 presented this information to a local district judge who, finding probable cause, issued

 a warrant to search the apartment for methamphetamine and equipment for the

 storage, transportation, and delivery of methamphetamine. The warrant did not

 authorize a no-knock entry into the apartment.

       Officers later discovered that the apartment on N.E. 17th is leased to Pyles,

 though Pyles does not regularly reside there. Pyles’s cousin, Angela Sikes, is the
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 regular occupant of the apartment. Pyles claims that he obtained the lease on behalf

 of Sikes because he did not believe Sikes would be approved by the property owner to

 lease the apartment.

       On February 5, 2020, law enforcement officers traveled to the apartment to

 execute the search warrant. Upon approaching the apartment, officers found the front

 door unlocked and, according to Pyles, opened the door and entered the apartment

 unannounced. While the officers who executed the warrant believe they knocked on

 the door and announced their presence prior to entry, they concede that this belief is

 not based on any independent recollection of actually doing so. Additionally, none of

 the four officers who executed the warrant noted in their reports that they knocked

 on the door and announced their presence prior to entry.1

       After entering the apartment, the officers proceeded to the bedroom where they

 located Pyles and Sikes along with three others. After detaining the occupants, the

 officers commenced the search of the apartment where they found seventeen grams

 of methamphetamine and some drug paraphernalia. Pyles, Sikes, and one additional

 occupant were arrested in connection with the findings of the search.

       Pyles now seeks to suppress the evidence found in the search, arguing that law

 enforcement violated his Fourth Amendment right to be free from unreasonable

 searches. Pyles does not challenge the validity of the search warrant but argues that



       1 For purposes of this Memorandum Opinion and Order, the Court assumes without
 deciding that the officers entered the apartment without first knocking on the door and
 announcing their presence.
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 the failure of the officers to knock on the front door and announce their presence prior

 to entering the apartment was unreasonable under the circumstances. According to

 Pyles, the unreasonable entry rendered the search unreasonable and the evidence

 found in the search should be suppressed.

                                 II. LEGAL STANDARD

       The Fourth Amendment protects “[t]he right of the people to be secure in their

 persons, houses, papers, and effects, against unreasonable searches and seizures.”

 U.S. CONST. amend. IV. Thus, the fundamental inquiry under the Fourth Amendment

 is whether a search was reasonable. See United States v. Knights, 534 U.S. 112, 118,

 122 S.Ct. 587, 151 L.Ed.2d 497 (2001) (“The touchstone of the Fourth Amendment is

 reasonableness.”). The Fourth Amendment’s reasonableness standard is informed by

 the common law as it existed at the time of the Amendment’s framing. Wilson v.

 Arkansas, 514 U.S. 927, 931, 115 S.Ct. 1914, 131 L.Ed.2d 976 (1995). Because officers

 were required at common law to make their presence and authority known before

 entering a dwelling, the Fourth Amendment generally requires that officers knock

 and announce their presence before entering to execute a search warrant. Id. at 931,

 934. But if officers have a reasonable suspicion that the circumstances present a

 safety risk, that evidence may be destroyed, or that knocking and announcing would

 be futile, then failing to knock and announce is reasonable for purposes of the Fourth

 Amendment. Hudson v. Michigan, 547 U.S. 586, 589–90, 126 S.Ct. 2159,

 165 L.Ed.2d 56 (2006).


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       The exclusionary rule is a doctrine that operates to suppress evidence obtained

 in violation of the Fourth Amendment. Davis v. United States, 564 U.S. 229, 231, 131

 S.Ct. 2419, 180 L.Ed.2d 285 (2011). The purpose of the exclusionary rule is to deter

 Fourth Amendment violations. Pa. Bd. of Prob. and Parole v. Scott, 524 U.S. 357, 363,

 118 S.Ct. 2014, 141 L.Ed.2d 344 (1998). However, the suppression of evidence will

 not necessarily result from every Fourth Amendment violation. See Illinois v. Gates,

 462 U.S. 213, 223, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983) (“The question whether the

 exclusionary rule’s remedy is appropriate in a particular context has long been

 regarded as an issue separate from the question whether the Fourth Amendment

 rights of the party seeking to invoke the rule were violated.”). The exclusionary rule

 applies only if the interests protected by the constitutional rule at issue bear some

 relationship to the seizure of evidence—such that suppression would actually

 vindicate the violated interests. Hudson, 547 U.S. at 593. Even then, evidence should

 be suppressed only when the deterrence benefits of suppression outweigh the

 substantial societal costs. Scott, 524 U.S. at 363.

                                    III. DISCUSSION

       In Hudson, the Supreme Court concluded that the suppression of evidence is

 unrelated to the interests protected by the knock-and-announce rule and that the

 costs of suppression greatly outweigh its deterrent benefit in knock-and-announce

 cases. 547 U.S. at 594–95. This was the basis for the Court’s holding that the

 exclusionary rule does not apply to violations of the knock-and-announce rule. Id. at


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 599. In seeking the suppression of evidence in this case, Pyles attempts to distinguish

 Hudson. His attempts are unavailing.

       Pyles argues that the constitutional violation is more serious in this case

 because the officers did not knock and announce their presence at all, whereas in

 Hudson, the allegation was only that officers did not wait a sufficient amount of time

 between knocking and entering. A more serious violation, Pyles argues, warrants the

 more serious remedy of suppression.

       However, nothing in the Supreme Court’s reasoning in Hudson turns on the

 exact nature of the knock-and-announce violation. The Court reasoned that the

 interests protected by the knock-and-announce rule—the preservation of safety,

 property, and privacy risked by sudden, unexpected entry—have nothing to do with

 the seizure of evidence. Id. at 594. Therefore, the remedy of suppression bears no

 relationship to the interests protected by the knock-and-announce rule.

       The Court further reasoned that the cost of suppression is significant in

 relation to the deterrence benefit in cases of knock-and-announce violations. The

 costs include the exclusion of relevant, probative evidence from trial as well as the

 flood of litigation that would ensue as defendants, in hopes of getting evidence

 suppressed, would seek to argue that every failure to knock and announce was

 unjustified. Id. at 595. Meanwhile, the deterrence benefit is diminished by the fact

 that there is little incentive for officers to violate the knock-and-announce rule. Id.

 at 596. Unlike warrantless searches, which can lead to the discovery of otherwise


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 undiscoverable evidence, officers gain little from failing to knock and announce their

 presence. Id.

       This reasoning applies categorically to all knock-and-announce violations.

 Even when officers fail to knock and announce entirely, the discovery of the

 incriminating evidence is too attenuated from the constitutional violation to warrant

 suppression. The interests protected by the knock-and-announce rule remain

 unrelated to the seizure of evidence regardless of the exact nature of the knock-and-

 announce violation. And the failure to knock and announce does not cause the

 discovery of evidence—the execution of a valid search warrant does. Furthermore,

 the incentive for officers to refrain from knocking and announcing their presence is

 not any greater than it is for officers to knock and then immediately enter. Therefore,

 even in cases where officers do not knock and announce their presence at all, the

 deterrence benefit of suppression is slight in relation to its significant societal costs.

       Pyles also argues that the Supreme Court based its decision in Hudson on the

 fact that suppression is unnecessary because there are other meaningful methods of

 deterring knock-and-announce violations, such as civil liability. Pyles urges this

 Court to adopt a different rule for violations occurring in Paris, Texas because the

 average Paris resident does not possess sufficient resources to actively litigate civil-

 rights lawsuits. According to Pyles, without the threat of civil liability, knock-and-

 announce violations will remain undeterred in Paris unless this Court suppresses the

 evidence in this case.


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        Whatever the merits of this contention, the holding in Hudson was not based

 on the availability of other deterrents; it was based on the attenuated causal

 relationship between the knock-and-announce violation and the discovery of evidence

 as well as the exclusionary rule’s significant societal costs compared to its marginal

 deterrent effect in knock-and-announce cases. It is true that the Court in Hudson

 responded to the defendant’s contention that suppression was the only available

 deterrent, but only after the Court made clear that its decision did not hinge on this
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 point. See id. at 596 (noting that, even if it were true that there is no other method of

 deterring knock-and-announce violations, that would not necessarily mean that the

 evidence must be suppressed). Hudson therefore governs this case, and Pyles’s

 suppression motion should be denied.2

                                       IV. CONCLUSION

        It is therefore ORDERED that Defendant Mykal Anthony Pyles’s Motion to

 Suppress Evidence from Search on February 5, 2020, (Dkt. #62), is hereby DENIED.

       So ORDERED and SIGNED this 16th day of September, 2020.




                                                        ____________________________________
                                                        SEAN D. JORDAN
                                                        UNITED STATES DISTRICT JUDGE


        2  Because the Court concludes that the exclusionary rule is inapplicable, Pyles
 requests alternative relief in the form of a jury instruction informing the jury that the officers
 in this case failed to knock and announce their presence in violation of the Fourth
 Amendment and that the jury may take that into account when assessing the officers’
 credibility. The request is premature. Pyles may request the inclusion of the proposed jury
 instruction at the time of trial.
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